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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                              :       Case No. 3:17-CV-72

                   Plaintiff                            :       Judge MOON


                                                        :
           -v-

    JASON KESSLER ET AL.                                :

                                                        :
                   Defendants
    _______________________________________________________

              MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT
     ______________________________________________________


          Now comes defendant Nationalist Front and moves the Court to dismiss the

    Plaintiff’s claims against it pursuant to FRCP 12 and 17.


                                                 Respectfully Submitted,


                                                 s/ Elmer Woodard      __________
                                                 ELMER WOODARD (VSB 27734)
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                                                 Trial Attorney for Defendant




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                                   CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on November 14, 2017 upon:

       All parties of record. No party is entitled to or has requested service by other means.

                                                         s/ Elmer Woodard
                                                         ___________________
                                                         E. Woodard (VSB 27734)




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